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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION
MIODRAG KUKRIKA, CeWYON
CHANDLER-WARD, TIMOTHY
WILLIAMS, JOSHUA PALEFSKY,
and GREGG LANEZ, individually
and on behalf of all others similarly
situated,
                                         Case No. 1:24-cv-05492-ELR
                    Plaintiffs,
v.

Porsche Cars N.A., Inc.,
                  Defendant.


 DEFENDANT PORSCHE CARS NORTH AMERICA, INC.’S PARTIAL
  MOTION TO DISMISS PLAINTIFFS’ AMENDED CLASS ACTION
                      COMPLAINT



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      Pursuant to Rules 12(b)(6) and 9(b) of the Federal Rules of Civil Procedure,

Defendant Porsche Cars North America, Inc. (“PCNA”), by and through its attorneys,

hereby moves to dismiss certain claims 1 of Plaintiffs Miodrag Kukrika (“Kukrika”),

CeWyon Chandler-Ward (“Chandler-Ward”), Timothy Williams (“Williams”), Joshua

Palefsky (“Palefsky”), and Gregg Lanez (“Lanez”) (collectively “Plaintiffs”) in their

Amended Class Action Complaint (Dkt. 24) with prejudice. PCNA seeks an order:

      (1)    Dismissing Kukrika’s and Lanez’s fraudulent concealment and omission

(Count I) and negligent misrepresentation/omission (Count II) claims because (i) these

claims are barred by the economic loss rule and (ii) there is no special relationship

between PCNA and these Plaintiffs and no duty to disclose;

      (2)    Dismissing Kukrika’s and Lanez’s negligent misrepresentation/omission

(Count II) and breach of the implied warranty of merchantability (Count III) claims

because they are time-barred by the applicable statute of limitations;

      (3)    Dismissing Williams’ and Palefsky’s breach of the implied warranty of

merchantability (Count III) claims because they have not alleged privity with PCNA;

      (4)    Dismissing Chandler-Ward’s, Williams’, and Palefsky’s negligent

misrepresentation/omission (Count II) claims because they only assert omissions and

no affirmative misrepresentations;



1
 PCNA seeks dismissal of all claims except for Chandler-Ward’s claim for breach
of implied warranty of merchantability.
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      (5)       Dismissing all Plaintiffs’ breach of express warranty (Count VII) claims

because (i) the express warranty does not cover design defects and (ii) Plaintiffs failed

to give PCNA pre-suit notice and a reasonable opportunity to cure as required under the

written warranty;

      (6)       Dismissing all Plaintiffs’ fraudulent concealment and omission (Count I)

claims because Plaintiffs fail to sufficiently allege PCNA’s intent to defraud;

      (7)       Dismissing all Plaintiffs’ negligent misrepresentation/omission (Count II)

claims and Chandler-Ward’s Violation of the Georgia Fair Business Practices Act

(Count VI) claim because Plaintiffs fail to sufficiently alleged reliance on any

misrepresentation by PCNA;

      (8)       Dismissing all Plaintiffs’ fraudulent concealment and omission (Count I)

claims and Williams’ and Palefsky’s claims for Violations of California’s Unlawful,

Unfair, and Fraudulent Business Practices Act (Count IV) and the California Consumers

Legal Remedies Act (Count V) because Plaintiffs fail to sufficiently allege that PCNA

knew of the alleged defect before Plaintiffs purchased their vehicles;

      (9)       Dismissing all Plaintiffs’ request for injunctive and equitable relief “in the

form of a comprehensive program to adequately repair or replace the batteries in all

Class Vehicles, and/or buyback all Class Vehicles” (Amended Complaint, Dkt. 24, at

p.   87) in deference to NHTSA’s ongoing recall under the doctrine of primary

jurisdiction.


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      WHEREFORE, PCNA respectfully requests that the Court dismiss all claims

other than Chandler-Ward’s claim for breach of implied warranty with prejudice,

dismiss Plaintiffs’ request for injunctive and equitable relief, and grant PCNA any other

relief as this Court deems just and proper.



      Respectfully submitted this 7th day of April, 2024.

                                                  /s/ Cari K. Dawson
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                           RULE 7.1D CERTIFICATE

      The undersigned hereby certifies that the foregoing Defendant Porsche Cars

North America, Inc.’s Partial Motion to Dismiss Plaintiffs’ Amended Class Action

Complaint was prepared using 14-point Times New Roman font, in accordance with

Local Rule 5.1B.



                          CERTIFICATE OF SERVICE

      I hereby certify that on this day, I electronically filed the foregoing Defendant

Porsche Cars North America, Inc.’s Partial Motion to Dismiss Plaintiffs’

Amended Class Action Complaint with the Clerk of Court using the CM/ECF

system, which will send notification of the filing to all counsel of record.

      Dated this 7th day of April, 2025.

                                           /s/ Cari K. Dawson
                                           Cari K. Dawson
                                           Georgia Bar No. 213490

                                           Counsel for Defendant Porsche Cars
                                           North America, Inc.
